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                         IN THE UNITED                 STATES DISTRICT COURT FOR THE
                                        SOUTHERN DISTRICT OF GEORGIA
                                                    AUGUSTA DIVISION


UNITED STATES       OF AMERICA


                                                                                      CR    110-251


ROBERT    LEE WILLIAMS




                                                         ORDER




        Defendant       has    filed         a   motion      for   reduction of            sentence    under      18   U.S.C.


§ 3582(c)(2)       on the basis that Amendment 782 to the United States Sentencing

Guidelines        has    revised             the       guidelines          applicable         to   drug      trafficking

offenses.1        Even though Amendment 782 became effective on November 1, 2014,

no   defendant      may       be    released            on   the     basis      of    the    retroactive          amendment

before    November       1,    2015.             See    U.S.S.G.         Amend.      788.     Thus,    the       Court will

undertake     a    review          of    cases         involving         drug     trafficking         offenses         in   due

course.      If    Defendant            is       entitled     to    a    sentence      reduction       as    a   result      of

amendments to the United States Sentencing Guidelines,                                         the Court will make

such a reduction sua sponte.                           Accordingly, Defendant's motion (doc. 928)                            is

DEFERRED.


        ORDER ENTERED at Augusta, Georgia, this                              d*3^ ay of June, 2015.


                                                         HONORftfeiifi^J. /RANDAL HALL
                                                         UNITEDJ STATES DISTRICT JUDGE
                                                                   CRN   DISTRICT      OF GEORGIA



1     Defendant additionally seeks appointment of counsel and permission to proceed
in forma pauperis ("IFP").   Because the Court will address Defendant's request sua
sponte,   his request for appointment of counsel and IFP status is DENIED at this
time.


2       The Clerk is directed to terminate the motion for administrative purposes.
